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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SECURITIES AND EXCHANGE                           Case No. 18-cv-05080-JST
                                         COMMISSION,
                                   8                    Plaintiff,                         ORDER RE JOINT DISCOVERY
                                   9                                                       LETTER BRIEF
                                                 v.
                                  10                                                       Re: ECF No. 73
                                         MICHAEL B. ROTHENBERG, et al.,
                                  11                    Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          The Court has received the parties’ joint discovery letter brief. ECF No. 73. The

                                  14   Securities and Exchange Commission is ordered to file a copy of its First Set of Requests for

                                  15   Production of Documents and First Set of Interrogatories to Defendant Rothenberg by April 26,

                                  16   2019. The Court will act upon the parties’ joint discovery letter brief when it has received those

                                  17   documents.

                                  18          IT IS SO ORDERED.

                                  19   Dated: April 22, 2019
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                                                                                                     JON S. TIGAR
                                  21                                                           United States District Judge

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